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                                                                          FILED
                                                                          July 22 2016
      Darren Chaker
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 2                                                                SOIlTHERN DISTRICT OF CALIFORNIA
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 4
 5                                UNITED ST ATESPISTRICT COURT
 66                         SOUTHERN DISTRICT OF CALIFORNIA
 77 DARREN CHAKER,
    DARREN CHAKER,                                               cv
                                                 Case No.: 16 GV 1872              CAB BlM
 88                  Plaintiff,                   X PARTE APPLICATION TO FILE
                                                 EX
                                                 COMPLAINT UNDER SEAL AND ISSUE
 9          vs.                                   ~[LIMINARY PROTECTIVE ORDER

10     EESA FAZAL. et. al.
                       a!.                       [L.R. 79.2J
                                                       79.2)

11                   Defendants.

12
13           COMES NOW DARREN CHAKER. Petitioner, and files this Motion to Seal th
14    Complaint under seal and issue a preliminary protective order.

15
IS    I.     GOOD CAUSE EXISTS TO FILE THE COMPLAINT UNDER SEA
             SINCE IT DISCLOSES SEALED COURT AND POLICE RECORDS
16           MEDICAL RECORDS, AND A PENDING CRIMINAL FED ERA
17           INVESTIGATION INTO A FEDERAL AGENT.

18           The Supreme Court has reaffirmed strong privacy interests in dissemination                0

19    personal, confidential information. See Whalen v.
                                                     v. Roe, 429 U.S. 589, 599 (1977); Nixa
                                                                                       Nixo
20                               Services,, 433 U.S. 425. 457-59 (1977).
      v. Administrator a/General Services
21           In support of Plaintiffs Complaint, he cited to numerous exhibits. Many of th
22    exhibits include.
23                a.
                  a. Reference to sealed family law case pages 8-14, and an accompany
                                                                            accompanyin
                                                                                      in
24                   sealed court order (all paternity cases are sealed), birth certificate, an
25                   voluntary acknowledgement of paternity;
26                b. Repeated reference to a sealed police report',
                  b.                                       reportl, pages 5-18;
27
28    1 See NRS § 179.285(a) ["All proceedings rec   recounted
                                                         ounted in the record are deemed never to hav
      occurred ... "] Likewise,
                      Likewise. in California. "[I]f an
                                                     all agency receives an inquiry regarding a recor
                                                     I
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 I             c. Medical record excerpt at page 32, as well as repeated references to secon
 2                 revocation petition which was dismissed throughout complaint, and the
 3                 sealed by the district court, as well as full medical reports and drug test in
 4                 results are part of a medical exam 2, [medical record 3 ] as exhibits.
 5             d. Excerpt of third revocation petition alleging violations based on Firs
 6                 Amendment rights. page 43, which is no longer a public record as it wa
 7                 withdrawn by US PO at the direction of the district court on February 29
 8                 2016.
 9             e. The name of and explicit details concernll1g Plaintiff obtaining an
10                 providing an AUSA and two FBI special agents with informatio
II                 concerning a Homeland Security special agent's unethical and illega
12                 conduct. See, Complaint, Pages 62-63 4 .
13          Given the nature of the infonnation and records contained within the complaint,
14   Plaintiff requests Defendants are ordered to not disclose the nature of the complaint or it

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     which has been sealed, the proper response is '[wJe have no record on the named individual,
16
     even though the record may ph ysica lly still exist." Parmelf v. Superior Court. 212 Cal.App.3
17   126 I , I
     , See 42 U.S.C. § 12 114(d).
18   l Drug and alcohol testing programs clearly implicate individual privacy rights for both publi


19   and private employees. (See Hill v. National Collegiate Athletic Ass ·n. 7 Cal. 4th I (1994).) 265
     262 Cal.Rptr. 387 (1989) .
20   • District co uris have identified as one of them the need to avoid "jeopardizing ongoing 0
     future investigations," United States v. Milken. 780 F. Supp. 123, 127 (199 I), and "[tJhe nee
21   for confidentiality of the investigation," United States v. Park, 619 F. Supp. 2d 89, 9
22   (S.D.N.Y.2009). United States v. Huntley. 943 F. Supp. 2d 383, 386,2013 U.S. Dist. LEX I
     65057, *7, 2013 WL 188 I 536 (E.D.N, Y. 2013) The Government will routinely seek to sea
23   records to protect the integrity of the Government's ongoing investigations. See Un ited State
     v. Haller, 837 F.2d at 87 (closure of paragraph of plea agreement appropri ate because it wa
24
     "essential to protect the secrecy of sensitive matters affecting a grand jury proceeding and a
25   ongoing criminal investigation") See also People 1'. Seibel (1990) 219 Cal.App.3d 1279, 128
     ["And in the big-time drug business, to inform is to sign one's death warrant."]; People v.
26   Pacheco (1972) 27 Cal.App.3d 70. 80 ['-It does not take a livel y imagination to realize tha
27   [disclosure of an informant's identity] might constitute a death warrant for the informer"].
     (emphasis added)
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                                                     2
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     exhibits in any capacity with a third party, be it through oral disclosure or disclosin
 2   physical documentation.
 3                                         CONCLUSION
 4         Plaintiff requests thi s honorable Court grant this application by ordering;
 5         1.   the instant motion be sealed since it discloses detail ed information abou
 6              confidential records;
 7         2. The complaint and its exh ibit are to be filed under seal; and
 8         3. Defendants are ordered to not disclose the contents of the complaint or it
 9              exhibits in any manner to a third party until a hearing is held on the matter.
10   DATED: 7/21116                                                        itted,

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